Case 2:05-cr-20126-.]PI\/| Document 23 Filed 05/27/05 Page 1 of 3 Page|D 26

IN 'I`HE UNITED S‘I`ATES DISTRIC'I` COURT
FOR TI-IE WESTE‘.RN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNI'I‘ED STATES OF` AMERICA
Plaintiff,

criminal NO. 05_20!&@ Ml

l€m/cd/`C éa//\»L£
iota/wa webb

(60-Day Continuance)

 

 

 

 

 

`_/\_/~_/~._,\_,~._,-_/~__,~_/`_/~_,~__,\_¢\_/`_1‘_,`__,.__,`_,

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures helow, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the June
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, JulV 22, 2005, with trial to take place on
the August, 2005, rotation calendar with the time excluded under
the Speedy Trial Act through August 12, 2005. Agreed in open

court at report date this 27th day of May, 2005.

This document entered on the docket sheet tn compliance

f ,
with Ftule 55 and/or SE(b) FFtCrP on 321ij ,Q.§/

 

 

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so oRDERED this 27th day of May, 2005.

QV\PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

Assistant United States Attorney

CV/é§/\*

 

 

 

 

%p/% QMC

Counsel for Defendant(s)

 

   

UNITED sTATE DRISTIC COURT - WESTER D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20126 Was distributed by faX, mail, or direct printing on
May 27, 2005 to the parties listed.

 

 

Steffen G. Schreiner

LAW OFFICE OF STEFFEN G. SCHREINER
369 N. Main

1\/lemphis7 TN 38103

.1 acob E. ErWin
WAGERMAN LAW FIRM
200 .1 efferson Avenue

Ste. 13 13

1\/lemphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

